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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Richmond Division

UHURU BARAKA ROWE,

              Plaintiff,

v.                                                 CASE NO. 3:19cv418

TRACY S. RAY, et al.,

              Defendants.



                             PARTIAL MOTION TO DISMISS

       Tracy S. Ray, T.L. Birckhead, B. Perkins, K. Clark, Michelle Carpenter, Natasha

Perkerson, C. Coleman, L. Shaw, L. Taylor, and M. Bradley (“Defendants”), by counsel and

pursuant to Federal Rule of Civil Procedure 12(b)(6), hereby move this Honorable Court to

dismiss Counts 2 through Count 8 of Plaintiff’s Amended Complaint for failure to state a claim

upon which relief can be granted. These defendants submit that Counts 2 through Count 8 fail to

state a claim against them. Accordingly, Defendants move for dismissal for the reasons outlined

in the memorandum accompanying this Motion.


                                                   Respectfully submitted,

                                                   TRACY S. RAY, T.L. BIRCKHEAD, B.
                                                   PERKINS, K. CLARK, MICHELLE
                                                   CARPENTER, NATASHA PERKERSON,
                                                   C. COLEMAN, L. SHAW, L. TAYLOR,
                                                   and M. BRADLEY
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                                             By:           s/Laura Maughan
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                                CERFIFICATE OF SERVICE

       I hereby certify that on the 1st day of October, 2020, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system, which will send a notification of such

filing (“NEF”) to the following: n/a.

       I also hereby certify that I have sent the document, postage prepaid, to the following non-

CM/ECF user:

           Uhuru Baraka Rowe, # 1131545
           Greensville Correctional Center
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           Jarratt, Virginia 23870


                                                           s/Laura Maughan
                                                    Laura Maughan, VSB #87798
                                                    Assistant Attorney General




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